            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5653 Page 1 of 21



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                      8 THOMAS SEAMAN
                      9                             UNITED STATES DISTRICT COURT
                     10                           SOUTHERN DISTRICT OF CALIFORNIA
                     11
                     12 SECURITIES AND EXCHANGE                   Case No. 15-cv-226 BAS-MSB
                        COMMISSION,
                     13                                           NO ORAL ARGUMENT UNLESS
                                      Plaintiff,                  REQUESTED BY THE COURT
                     14
                              v.                                  MEMORANDUM OF POINTS AND
                     15                                           AUTHORITIES IN SUPPORT OF
                        TOTAL WEALTH MANAGEMENT,                  MOTION OF RECEIVER, THOMAS A.
                     16 INC.; et al.,                             SEAMAN, FOR ORDER:
                                                                  (1) APPROVING FINAL REPORT AND
                     17                     Defendants.           ACCOUNTING; (2) AUTHORIZING
                                                                  PAYMENT OF FINAL FEE
                     18                                           APPLICATIONS OF RECEIVER AND
                                                                  PROFESSIONALS; AND (3) STAYING
                     19                                           RECEIVERSHIP CASE AND
                                                                  DISCHARGING AND RELEASING
                     20                                           RECEIVER
                     21                                           [Notice of Motion and Motion;
                                                                  Declaration of Thomas A. Seaman; Final
                     22                                           Report and Accounting; Final
                                                                  Applications for Payment of Fees and
                     23                                           Reimbursement of Expenses; and
                                                                  [Proposed] Order thereon submitted
                     24                                           concurrently herewith]
                     25                                           Date: March 2, 2020
                                                                  Ctrm: 4B
                     26                                           Judge Hon. Cynthia Bashant
                     27
                     28
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                                                                                   Case No. 15-cv-226 BAS-RNB
                            1178712.01/LA
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5654 Page 2 of 21



                      1                                                TABLE OF CONTENTS
                      2                                                                                                                             Page
                      3 I.            INTRODUCTION ........................................................................................... 5
                      4 II.           PRELIMINARY STATEMENT ..................................................................... 6
                      5 III.          RELEVANT PROCEDURAL BACKGROUND ........................................... 8
                      6 IV.           RECEIVERSHIP WIND-UP RECOMMENDATIONS .............................. 10
                      7               A.       Approval of the Receiver's Final Report............................................. 10
                      8               B.       Payment of Fees and Expenses of Receiver and His
                                               Professionals ....................................................................................... 10
                      9
                                      C.       PPCN Settlement................................................................................. 11
                     10
                                      D.       Undertake Receivership Wind-Up And Closing Tasks ...................... 12
                     11
                                               1.       Submission of Appropriate Tax Returns and Other
                     12                                 Filings ....................................................................................... 12
                     13                        2.       Abandonment or Destruction of Records ................................. 12
                     14                        3.       Remittance of Receivership Assets .......................................... 13
                     15                        4.       Discharge and Release of the Receiver .................................... 13
                     16 V.            ARGUMENT ................................................................................................ 14
                     17               A.       The Proposed Final Closing Tasks Should Be Authorized ................ 14
                     18               B.       The Final Fee Applications Are Reasonable And
                                               Appropriate, And Payment Of All Outstanding Fees and
                     19                        Expenses Should Be Authorized At This Time .................................. 16
                     20                        1.       The Fees and Expenses Requested in the Final Fee
                                                        Applications are Reasonable .................................................... 16
                     21
                                               2.       The Fees and Expenses Requested in the Final Fee
                     22                                 Applications have been Submitted to the
                                                        Commission, Without Objection .............................................. 17
                     23
                                               3.       The Receiver Should be Authorized to Pay Allowed
                     24                                 Fees and Expenses from Cash on Hand.................................... 18
                     25 VI.           CONCLUSION ............................................................................................. 19
                     26
                     27
                     28
       LAW OFFICES
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                                                  Case No. 15-cv-226 BAS-RNB
                            1178712.01/LA                                                -1-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5655 Page 3 of 21



                      1                                       TABLE OF AUTHORITIES
                      2                                                                                                         Page(s)
                      3 Cases
                      4 Bennett v. Williams,
                             892 F.2d 822 (9th Cir. 1989) ......................................................................... 15
                      5
                        CFTC v. Topworth Int'l,
                      6      205 F.3d 1107 (9th Cir. 1999) ....................................................................... 14
                      7 Finn v. Childs Co.,
                              181 F.2d 431 (2d Cir. 1950) .................................................................... 17, 18
                      8
                        Fleet Nat'l Bank v. H&D Entm't,
                      9       926 F. Supp. 226 n. 56 (D. Mass. 1996) ....................................................... 14
                     10 Gaskill v. Gordon,
                               27 F.3d 248 (7th Cir. 1994) ........................................................................... 16
                     11
                        In re Phila. & Reading Coal & Iron Co.,
                     12        61 F. Supp. 120 (D.C. Pa. 1945) ............................................................. 17, 18
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                               182 B.R. 365 (D. Mass. 1995)....................................................................... 15
                     14
                        In re Thinking Machs. Corp.,
                     15        67 F.3d 1021 (1st Cir. 1995) ......................................................................... 15
                     16 SEC v. Am. Capital Invs.,
                             98 F.3d 1133 (9th Cir. 1996) ......................................................................... 14
                     17
                        SEC v. Basic Energy & Affiliated Res.,
                     18      273 F.3d 657 (6th Cir. 2001) ......................................................................... 14
                     19 SEC v. Elliot,
                             953 F.2d 1560 (11th Cir. 1992) ..................................................................... 16
                     20
                        SEC v. Elliot,
                     21      998 F.2d 922 (11th Cir. 1993) ....................................................................... 16
                     22 SEC v. Fifth Ave. Coach Lines, Inc.,
                             364 F.Supp. 1220 (S.D.N.Y. 1973) ......................................................... 16, 18
                     23
                        SEC v. Forex Asset Mgmt., LLC,
                     24      242 F.3d 325 (5th Cir. 2001) ......................................................................... 14
                     25 SEC v. Hardy,
                             803 F.2d 1034 (9th Cir. 1986) ....................................................................... 14
                     26
                        SEC v. Health Maint. Ctrs., Inc.,
                     27      2002 WL 34388014 (W.D. Wash. 2002) ...................................................... 15
                     28 SEC v. Wang,
       LAW OFFICES
                             944 F.2d 80 (2d Cir. 1991) ............................................................................ 14
Allen Matkins Leck Gamble
   Mallory & Natsis LLP                                                                                     Case No. 15-cv-226 BAS-RNB
                            1178712.01/LA                                        -2-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5656 Page 4 of 21



                      1                                                                                                      Page(s)
                      2 Sw. Media, Inc. v. Rau,
                             708 F.2d 419 (9th Cir. 1983) ......................................................................... 15
                      3
                      4
                      5
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                      7
                      8
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   Mallory & Natsis LLP                                                                                  Case No. 15-cv-226 BAS-RNB
                            1178712.01/LA                                      -3-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5657 Page 5 of 21



                      1                     MEMORANDUM OF POINTS AND AUTHORITIES
                      2 I.            INTRODUCTION.
                      3               Thomas A. Seaman (the "Receiver"), the Court-appointed permanent receiver
                      4 for Total Wealth Management, Inc. ("Total Wealth") and its subsidiaries and
                      5 affiliates including, but not limited to, Altus Capital Management, LLC
                      6 (collectively, the "Receivership Entities" or "Entities"), hereby submits the present
                      7 motion for an order: (1) Approving Final Report and Accounting; (2) Authorizing
                      8 Payment of Final Fee Applications of Receiver and Professionals; and (3) Staying
                      9 Receivership Case and Discharging and Releasing Receiver (the "Wind-Up
                     10 Motion"). As of the date of the instant Wind-Up Motion, the Receiver believes he
                     11 has – with the assistance of his Professionals1 – fulfilled each of his responsibilities
                     12 to the fullest extent possible, and has exhausted all reasonable efforts to recover
                     13 additional receivership assets ("Receivership Assets" or "Assets") for the benefit of
                     14 the estate of the Receivership Entities (the "Estate"). The specific accomplishments
                     15 of the Receiver and his Professionals are summarized herein, and in the Receiver's
                     16 Final Report and Accounting ("Final Report"), submitted concurrently with the
                     17 instant Wind-Up Motion.
                     18               Accordingly, the Receiver recommends that the Court now authorize him to
                     19 commence the termination of the instant receivership, including the enumerated
                     20 wind-up tasks identified below. As the Receiver performs these wind-up tasks, he
                     21 respectfully requests that the Court stay the above-captioned receivership, and retain
                     22 jurisdiction over the instant receivership, solely for the limited purpose of permitting
                     23 the Receiver to make a supplemental and final distribution on a pro rata basis to all
                     24 allowed, non-subordinated claims, from any available funds paid in connection with
                     25 the settlement of the action styled Seaman v. Private Placement Capital Notes II,
                     26
                     27     1
                                 For the purposes of this Wind-Up Motion, the Receiver's "Professionals" are his
                     28          attorneys, Allen Matkins Leck Gamble Mallory & Natsis, LLP, and his
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                                 accountants and tax professionals, Crowe LLP.
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                                                                                          Case No. 15-cv-226 BAS-RNB
                            1178712.01/LA                              -4-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5658 Page 6 of 21



                      1 LLC, et al., USDC, S.D. Cal. Case No. 16-cv-0578 BEN (DHB) (the "PPCN
                      2 Action"), as detailed herein (the "Final Distribution").
                      3               Following any Final Distribution or, if the Receiver determines that no Final
                      4 Distribution will be made, then the Receiver will file a declaration ("Final
                      5 Declaration") with the Court notifying the Court that the Receiver has completed all
                      6 of his work, and the receivership should be closed. Absent any further inquiry by
                      7 the Court, the Receiver shall be discharged upon the filing of the Final Declaration.
                      8 II.           PRELIMINARY STATEMENT.
                      9               Pursuant to this Court's February 12, 2015 "(1) Preliminary Injunction,
                     10 Appointment of a Permanent Receiver, and Related Orders; and (2) Order Vacating
                     11 Hearing on Preliminary Injunction" (the "Appointment Order") (ECF No. 8), and
                     12 this Court's May 8, 2015 "Order Granting Motion for Order in Aid of Receivership"
                     13 (ECF No. 31), the Receiver's most significant accomplishments during the pendency
                     14 of the instant receivership include:
                     15                    Completing a detailed review and analysis of the business and financial
                     16               activities of the Receivership Entities, including a review and analysis of
                     17               hundreds of thousands of transactions, detailed in over a million pages of
                     18               records relating to the Receivership Entities and their investors;
                     19                    Marshaling and preserving all Receivership Assets, ultimately resulting
                     20               in gross recoveries in the amount of $4,989,420 for the benefit of the
                     21               Receivership Entities, including funds raised from the sale of personal
                     22               property assets, liquidations, and settlement and pending litigation;
                     23                    Securing Court approval of the settlement of claims alleged in the
                     24               action styled Seaman v. Lively, et al., Case No. 37-2016-00003644-CU-PN-
                     25               CTL, and recovering significant settlement proceeds for the benefit of the
                     26               Receivership Entities, including with respect to settlement proceeds against
                     27               which Defendant Jacob Cooper alleged a claim;
                     28
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                            1178712.01/LA                                 -5-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5659 Page 7 of 21



                      1                    Negotiating a settlement, and securing Court approval thereof, of the
                      2               PPCN Action (the "PPCN Settlement"), which provides for, among other
                      3               things, a settlement payment to the Receivership Entities in the amount of at
                      4               least $1 million, and which, if successful, may enable the Receiver to make
                      5               the Final Distribution on allowed claims;
                      6                    Reviewing and addressing more than three hundred (300) claims
                      7               submitted by Receivership Entity investors and creditors, conferring with
                      8               claimants regarding claim deficiencies, and developing and securing Court
                      9               approval of his recommended equitable treatment of allowed claims; and
                     10                    Developing, and securing Court approval of, the proposed omnibus
                     11               plan for distribution on allowed claims, pursuant to which the Receiver made
                     12               an initial distribution, in the aggregate amount of $2,831,772.342, on a pro
                     13               rata basis on all allowed, non-subordinated claims. (See concurrently filed
                     14               Declaration of Thomas A. Seaman ["Seaman Decl."] ¶ 3.)
                     15               The Receiver further administered and protected the Estate, including
                     16 conferring with investors to keep them apprised of the status of his receivership and
                     17 claims administration efforts, and monitoring and participating in, as necessary,
                     18 pending third-party litigation which related to or implicated the Receivership
                     19 Entities.
                     20
                     21
                            2
                     22          In connection with the Receiver's "Motion for Order Authorizing and Approving
                                 Omnibus Plan for Distribution on Allowed Claims" (ECF No. 245), the Court
                     23          entered its April 8, 2019 "Order: (1) Overruling Claimant Richard M.
                                 Kipperman's Objection and (2) Granting Receiver Thomas A. Seaman's Motion
                     24          for Order Authorizing and Approving Omnibus Plan for Distribution on Allowed
                                 Claims, as Amended" (the "Omnibus Distribution Order") (ECF No. 253),
                     25          pursuant to which the Court authorized the Receiver to make an initial aggregate
                                 distribution in the amount of $2,832,982, on a pro rata basis, on all allowed,
                     26          non-subordinated claims. Subsequently, the Receiver corrected an erroneously-
                                 calculated distribution to a particular investor, which led to an additional
                     27          distribution in the amount of $1,178.28. In addition, the Receiver made an
                                 adjustment to the aggregate distribution amount to the extent that certain
                     28          distribution checks were voided, in the amount of $2,387.98. Accordingly, the
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                                 Receiver's initial distribution amount was $2,831,772.34.
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                            1178712.01/LA                                -6-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5660 Page 8 of 21



                      1 III.          RELEVANT PROCEDURAL BACKGROUND.
                      2               The Receiver invites the Court and interested parties to review the materials
                      3 identified in Appendix 1 to the Final Report for a general summary of the relevant
                      4 facts underlying the above-captioned receivership case and the activities and efforts
                      5 of the Receiver and his Professionals. A full recitation of the procedural and factual
                      6 history of the above-captioned action is unnecessary for the purposes of this Wind-
                      7 Up Motion, particularly given that the Receiver's concurrently-submitted Final
                      8 Report summarizes the Receiver's actions during the pendency of this matter. As to
                      9 this Wind-Up Motion, the relevant facts are as follows:
                     10               The above-captioned enforcement action was commenced by the Plaintiff
                     11 Securities and Exchange Commission (the "Commission") on February 4, 2015.
                     12 (ECF No. 1.) The Commission's Complaint alleged that Defendants Total Wealth
                     13 and its founder, Jacob Cooper, ran a series of unregistered hedge funds through
                     14 which they took substantial funds from client accounts, under the guise of
                     15 "administrative fees," without providing any meaningful explanation or accounting
                     16 to clients. The Commission requested the appointment of a receiver and, on
                     17 February 12, 2015, this Court entered the Appointment Order. (ECF No. 8.)
                     18               Since his appointment, the Receiver has administered the Estate and all
                     19 Receivership Assets in accordance with the Court's instructions including, but not
                     20 limited to: (1) marshaling and preserving Receivership Assets; (2) performing
                     21 accountings and analysis of the Receivership Entities' financial activities and
                     22 condition; (3) eliminating and addressing the Entities' liabilities; (4) recommending
                     23 the claims process, appropriate treatment of claims, and making distributions; and
                     24 (5) preparing reports for this Court. (See concurrently filed Declaration of Thomas
                     25 A. Seaman ["Seaman Decl."] ¶ 2.) The specific actions undertaken to-date are
                     26 identified in the Receiver's various interim and quarterly reports, including the Final
                     27 Report. Importantly, the Receiver believes he has – with the assistance of his
                     28 Professionals – fulfilled each of his responsibilities to the fullest extent possible, and
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                            1178712.01/LA                                -7-
            Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5661 Page 9 of 21



                      1 has exhausted all reasonable efforts to recover additional Receivership Assets for
                      2 the benefit of the Estate. Accordingly, the Receiver's continued administration,
                      3 except in connection with a potential settlement payment derived from the PPCN
                      4 Settlement, will not increase the amount of Assets available to the Receivership
                      5 Estate. (Seaman Decl. ¶ 4.) Thus, the costs of continuing the receivership now
                      6 outweigh the benefits. Id. Given this determination, and having fulfilled his
                      7 responsibilities under the Appointment Order, the Receiver believes it is now time
                      8 to stay the receivership case pending a potential performance of the PPCN
                      9 Settlement, as detailed below, and discharge and release the Receiver, except as in
                     10 connection with the Final Distribution. Id. at ¶ 5.
                     11               Most recently, the Receiver secured Court approval of the PPCN Settlement,
                     12 pursuant to the Order Approving Settlement, dated September 18, 2019 (ECF No.
                     13 258). As provided for under the terms of the PPCN Settlement, Private Placement
                     14 Capital Notes II, LLC and its associated entities (collectively, "PPCN") is obligated
                     15 to pay the Receiver $1.0 million on or before September 18, 2020. This obligation
                     16 is secured by a stipulated judgment, which may be recorded in the event that a
                     17 payment is not timely made. If PPCN performs its obligations under the PPCN
                     18 Settlement and timely pays the Receiver, the Receiver will make the Final
                     19 Distribution, per the terms of the Omnibus Distribution Order. If, however, PPCN
                     20 fails to timely pay the Receiver, pursuant to the PPCN Settlement, the Receiver may
                     21 file and record the stipulated judgment3.
                     22               For the reasons set forth herein, the Receiver respectfully requests that this
                     23 Court enter an Order approving the Receiver's Final Report; authorizing the
                     24 payment of the Final Fee Applications; authorizing the Receiver to commence
                     25 termination of the instant receivership, including the enumerated wind-up tasks; and
                     26
                     27     3
                                 If PPCN fails to pay the amounts required under the PPCN Settlement, the
                     28          Receiver may retain or sell the stipulated judgement in his sole discretion, but is
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                                 under no obligation to pursue a collection therefrom.
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                            1178712.01/LA                                 -8-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5662 Page 10 of 21



                      1 staying the above-captioned action and retaining jurisdiction of the instant
                      2 receivership for the limited purpose of permitting the Receiver to make the Final
                      3 Distribution, if possible. The Receiver respectfully requests that the Court discharge
                      4 and release the Receiver upon the Receiver's filing of the Final Declaration
                      5 reflecting completion of the wind-up tasks and the outcome of the PPCN Settlement.
                      6 Id. at ¶ 6.
                      7 IV.           RECEIVERSHIP WIND-UP RECOMMENDATIONS.
                      8               The Receiver believes that he has now satisfied his obligations to the Estate
                      9 and exhausted all reasonable efforts to recover additional Receivership Assets.
                     10 Accordingly, the Receiver recommends that the Court now authorize him to
                     11 commence the termination of the instant receivership. Specifically, the Receiver's
                     12 recommendations are as follows:
                     13               A.    Approval of the Receiver's Final Report.
                     14               The Receiver's Final Report (which also appends his final accounting for the
                     15 Estate) has been submitted to the Court concurrently with this Wind-Up Motion.
                     16 (Seaman Decl. ¶ 5; see also, Receiver's Final Report filed concurrently herewith.)
                     17 The Final Report summarizes the actions of the Receiver and his Professionals
                     18 during the pendency of the receivership case, and provides descriptions of his
                     19 document review and analysis, accounting, Asset preservation and recovery, claims
                     20 administration, and reporting efforts. Id. A copy of the Receiver's final accounting
                     21 summary, reflecting recoveries and expenditures during the pendency of the
                     22 receivership, is attached as Exhibit 1 to the Final Report. Id. The Receiver
                     23 respectfully requests that the Court approve his Final Report.
                     24               B.    Payment of Fees and Expenses of Receiver and His Professionals.
                     25               Concurrently with this Wind-Up Motion, the Receiver and his Professionals
                     26 have submitted their respective Final Fee Applications, requesting payment of their
                     27 respective outstanding fees and expenses already incurred and anticipated fees and
                     28 expenses through the termination of the instant receivership. (Seaman Decl. ¶ 5.)
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                            1178712.01/LA                                -9-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5663 Page 11 of 21



                      1 The Court has already authorized the Receiver, pursuant to its April 8, 2019
                      2 Omnibus Distribution Order (ECF No. 253), to set aside $520,334 from cash on-
                      3 hand to cover the Receiver's and his Professionals' administrative and professional
                      4 fees, including for: (a) unpaid holdbacks of $333,834.41 of already-approved fees
                      5 and expenses; and (b) a proposed reserve in the aggregate amount of $186,500 to
                      6 cover remaining administrative fees and expenses.4 (Seaman Decl. ¶ 7.)
                      7               While the Court has authorized the set-aside of these amounts, it has not
                      8 authorized the Receiver to make a payment therefrom. Accordingly, the Receiver
                      9 respectfully requests such authorization at this time to pay his, and his
                     10 Professionals': (1) unpaid holdbacks in the aggregate amount of $333,834.41; and
                     11 (2) outstanding administrative and professional fees and anticipated fees and
                     12 expenses through the termination of the instant receivership, from the set-aside
                     13 reserve amount of $226,491.50. (Id.)
                     14               C.    PPCN Settlement.
                     15               If PPCN performs its obligations under the PPCN Settlement and timely pays
                     16 the Receiver, the Receiver will make the Final Distribution, per the terms of the
                     17 Omnibus Distribution Order. If, however, PPCN fails to timely pay the Receiver,
                     18 pursuant to the PPCN Settlement, the Receiver may file and record the stipulated
                     19 judgment.
                     20               In light of the contingent nature of PPCN's performance under the PPCN
                     21 Settlement, the Receiver respectfully requests that the Court stay the above-
                     22 captioned action, and retain jurisdiction over the instant receivership, for the limited
                     23
                     24     4
                                 The Receiver has recovered an additional $42,655.50, such that he now has
                     25          $562,989.50 in cash on-hand to cover the Receiver's and his Professionals'
                                 administrative and professional fees. Given the scope and complexity of the
                     26          work that the Receiver and his Professionals performed from August 1, 2018 to
                                 present, the Receiver respectfully requests that the reserve amount be increased
                     27          to $226,491.50 (from $186,500), so that a portion of the additional funds
                                 recovered may be used to compensate the Receiver and his Professionals for
                     28          work performed from August 1, 2018 through the termination of the instant
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                                 receivership.
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                            1178712.01/LA                               -10-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5664 Page 12 of 21



                      1 purpose of permitting the Receiver to make the Final Distribution of proceeds
                      2 recovered from the PPCN Settlement, if any, along with the filing of any associated
                      3 tax returns.
                      4                In accordance with the Omnibus Distribution Order, the Receiver will notify
                      5 the Court within seven (7) days after either completion of the Final Distribution. If
                      6 the Receiver determines that no Final Distribution will be forthcoming, the Receiver
                      7 will file the Final Declaration and request the Court to close the receivership.
                      8               D.    Undertake Receivership Wind-Up And Closing Tasks.
                      9               The Receiver respectfully reiterates his request to undertake the
                     10 recommended wind-up and termination procedures, as set forth in detail in the
                     11 Eighth Interim Report and Petition for Further Instructions (the "Eighth Interim
                     12 Report") (ECF No. 246), which include:
                     13                     1.     Submission of Appropriate Tax Returns and Other Filings.
                     14               The Receiver is required to submit appropriate tax returns for each calendar
                     15 year of the pendency of the receivership. (Seaman Decl. ¶ 10.) Based on his
                     16 discussions with his accounting professionals, the Receiver will file the Qualified
                     17 Settlement Fund returns for the Entities for the 2019 tax year on or before February
                     18 20, 2020. (Id.) If there is a Final Distribution, the Receiver anticipates submitting
                     19 necessary and appropriate tax returns prior to, or contemporaneously with, the
                     20 closure of the receivership case, which shall be promptly after the Final Distribution
                     21 is completed or, in the event that such distribution is not possible, after notice to the
                     22 Court and a recommendation that the receivership be terminated. (Id.)
                     23                     2.     Abandonment or Destruction of Records.
                     24               The Receiver has obtained and reviewed hundreds of thousands of pages of
                     25 material relevant to the business and financial activities of the Receivership Entities,
                     26 in hard copy and digital form. (Seaman Decl. ¶ 11.) Some of these documents
                     27 contain private financial information. The Receiver therefore requests that, within
                     28 ninety (90) days after the entry of an order approving the Receiver's
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                            1178712.01/LA                                -11-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5665 Page 13 of 21



                      1 recommendations herein, the Receiver be authorized to abandon any documents
                      2 containing non-private information, and destroy any documents containing private
                      3 information, except for those records, if any, that are necessary to the Final
                      4 Distribution. (Id.)
                      5                     3.     Remittance of Receivership Assets.
                      6               As noted above, in order to calculate his recommended initial distribution
                      7 amount, the Receiver previously proposed, in his Eighth Interim Report, setting
                      8 aside a total of $520,334, reflecting the unpaid holdbacks of approved fees via
                      9 earlier applications, plus a reasonable estimate of the aggregate administrative fees
                     10 and expenses the Receiver and his Professionals expect to incur in administering the
                     11 Estate from the date of the last Court-approved fee applications through the
                     12 termination of the receivership and the discharge and release of the Receiver.5 The
                     13 Receiver recommends that the Court authorize him to remit any unused or unapplied
                     14 funds remaining in this reserve at the time of the termination of the receivership to
                     15 the Commission. (Seaman Decl. ¶ 12.)
                     16                     4.     Discharge and Release of the Receiver.
                     17               The only task remaining in the instant receivership is the prospective Final
                     18 Distribution pursuant to the PPCN Settlement (and possibly an additional tax
                     19 return), in accordance with this Court's Omnibus Distribution Order. Accordingly,
                     20 the Receiver believes that it is appropriate to present his Final Report, along with the
                     21 Final Fee Applications, and to request the Court to stay the receivership case and
                     22 retain jurisdiction thereover, pending a potential performance of the PPCN
                     23 Settlement. To facilitate the goals of the instant receivership, the Receiver requests
                     24 that the Court retain jurisdiction over any settlement proceeds paid in connection
                     25
                     26     5
                                 See Footnote 4, reflecting the current cash on-hand balance of $562,989.50,
                     27          which includes additional recoveries of $42,655.50. The Receiver respectfully
                                 requests that the reserve to cover administrative and professional fees from
                     28          August 1, 2018 through the termination of the instant receivership be increased
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                                 to $226,491.50.
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                            1178712.01/LA                                -12-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5666 Page 14 of 21



                      1 with the PPCN Settlement, which settlement proceeds shall remain subject to the
                      2 self-help bar and litigation stay imposed by the Appointment Order.
                      3               It may be some time before PPCN makes a payment to the Receiver in
                      4 accordance with the PPCN Settlement. Likewise, it is uncertain whether PPCN will
                      5 make all contemplated payments. Accordingly, and in order to best preserve limited
                      6 receivership resources and further limit the cost of administering the Estate, the
                      7 Receiver recommends that the Court accept the Receiver's Final Report and
                      8 eliminate further reporting obligations in connection with the instant receivership
                      9 such that the Receiver shall only be required to submit a written update only if the
                     10 Receiver believes the Court's attention is needed to facilitate the payment of the
                     11 Final Distribution. (Seaman Decl. ¶ 13.)
                     12 V.            ARGUMENT.
                     13               A.    The Proposed Final Closing Tasks Should Be Authorized.
                     14               A court's power to administer an equity receivership is extremely broad. SEC
                     15 v. Hardy, 803 F.2d 1034, 1037 (9th Cir. 1986); SEC v. Forex Asset Mgmt., LLC,
                     16 242 F.3d 325, 331 (5th Cir. 2001); SEC v. Basic Energy & Affiliated Res., 273 F.3d
                     17 657, 668 (6th Cir. 2001); SEC v. Elliot, 953 F.2d 1560, 1566 (11th Cir. 1992); SEC
                     18 v. Wang, 944 F.2d 80, 85 (2d Cir. 1991). In the absence of controlling authority,
                     19 and where applicable, district courts supervising equity receiverships routinely look
                     20 to bankruptcy law for guidance. SEC v. Am. Capital Invs., 98 F.3d 1133,1140 (9th
                     21 Cir. 1996); CFTC v. Topworth Int'l, 205 F.3d 1107, 1116 (9th Cir. 1999) (Central
                     22 District local rules, for instance, "direct receivers, unless otherwise ordered … to
                     23 'administer the estate as nearly as possible in accordance with … the administration
                     24 of estates in bankruptcy.'"); Fleet Nat'l Bank v. H&D Entm't, 926 F. Supp. 226, 240
                     25 n. 56 (D. Mass. 1996) ("[W]hat is permitted under the Bankruptcy Code, generally
                     26 is, a fortiori, permissible under receivership law.").
                     27               In the case administration context, courts are deferential to the business
                     28 judgment of bankruptcy trustees, receivers, and similar estate custodians. See, e.g.,
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                            1178712.01/LA                                -13-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5667 Page 15 of 21



                      1 Bennett v. Williams, 892 F.2d 822, 824 (9th Cir. 1989) ("[W]e are deferential to the
                      2 business management decisions of a bankruptcy trustee."); Sw. Media, Inc. v. Rau,
                      3 708 F.2d 419, 425 (9th Cir. 1983) ("The decision concerning the form of … [estate
                      4 administration] … rested with the business judgment of the trustee."); see also SEC
                      5 v. Health Maint. Ctrs., Inc., 2002 WL 34388014 (W.D. Wash. 2002) (Equating
                      6 bankruptcy trustees with receivers and finding that "the courts have overwhelmingly
                      7 applied a 'business judgment' test" to estate administration.); In re Thinking Machs.
                      8 Corp., 182 B.R. 365, 368 (D. Mass. 1995) ("The application of the business
                      9 judgment rule … and the high degree of deference usually afforded purely economic
                     10 decisions of trustees, makes court refusal unlikely.") (rev'd on other grounds, 67
                     11 F.3d 1021 (1st Cir. 1995)).
                     12               As reported herein and in the concurrently-submitted Final Report, the
                     13 Receiver has made all reasonable and necessary efforts to: recover, review, and
                     14 analyze Receivership Entity business records and documents; assemble forensic
                     15 accounting reports reflecting the Receivership Entities' financial activities; recover
                     16 available Receivership Assets; and develop and administer an equitable claims and
                     17 distribution process for victimized investors and creditors. The Receiver has
                     18 concluded, in his reasonable business judgment, that continued administration of the
                     19 instant receivership, except in connection with the potential Final Distribution from
                     20 the PPCN Settlement, will not result in recovery of any additional Receivership
                     21 Assets. Accordingly, the Receiver has concluded that it is now appropriate for the
                     22 Court to stay the receivership case and retain jurisdiction thereover pending a
                     23 potential performance of the PPCN Settlement. Consistent with the foregoing, the
                     24 Receiver requests that the Court order the discharge of the Receiver upon the
                     25 Receiver's filing of the Final Declaration reflecting the recovery and distribution of
                     26 proceeds from the PPCN Settlement, if any, or the disposition of any judgment
                     27 entered as a result of PPCN's failure to perform under the Settlement Agreement.
                     28
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                            1178712.01/LA                               -14-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5668 Page 16 of 21



                      1               B.    The Final Fee Applications Are Reasonable And Appropriate, And
                      2                     Payment Of All Outstanding Fees and Expenses Should Be
                      3                     Authorized At This Time.
                      4               As noted above, the Court entered its Omnibus Distribution Order on April 8,
                      5 2019 (see ECF No. 253), which authorized the Receiver to set aside $520,334 from
                      6 cash on-hand to cover the Receiver's and his Professionals' administrative and
                      7 professional fees, including for: (a) unpaid holdbacks of $333,834.41 of already-
                      8 approved fees and expenses; and (b) a proposed reserve in the aggregate amount of
                      9 $186,500 to cover remaining administrative fees and expenses.6
                     10               "As a general rule, the expenses and fees of a receivership are a charge upon
                     11 the property administered." Gaskill v. Gordon, 27 F.3d 248, 251 (7th Cir. 1994).
                     12 These expenses include the fees and expenses of the Receiver and his Professionals.
                     13 Decisions regarding the timing and amount of an award of fees and expenses to the
                     14 Receiver and his Professionals are committed to the sound discretion of the Court.
                     15 SEC v. Elliot, 953 F.2d 1560, 1577 (11th Cir. 1992) (rev'd in part on other grounds,
                     16 998 F.2d 922 (11th Cir. 1993)).
                     17                     1.    The Fees and Expenses Requested in the Final Fee Applications
                     18                           are Reasonable.
                     19               In determining the reasonableness of fees and expenses requested in this
                     20 context, the Court should consider the time records presented, the quality of the
                     21 work performed, the complexity of the problems faced, and the benefit of the
                     22 services rendered to the receivership estate. SEC v. Fifth Ave. Coach Lines, Inc.,
                     23 364 F.Supp. 1220, 1222 (S.D.N.Y. 1973).
                     24
                     25
                     26     6
                                 See Footnote 4, reflecting the current cash on-hand balance of $562,989.50,
                     27          which includes additional recoveries of $42,655.50. The Receiver respectfully
                                 requests that the reserve to cover administrative and professional fees from
                     28          August 1, 2018 through the termination of the instant receivership be increased
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                                 to $226,491.50 from $186,500.
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                            1178712.01/LA                               -15-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5669 Page 17 of 21



                      1               Here, the Final Fee Applications describe the nature of the services that have
                      2 been rendered, and where appropriate, the identity and billing rate of the individuals
                      3 performing each task. The Receiver and his Professionals have endeavored to staff
                      4 matters as efficiently as possible in light of the level of experience required and the
                      5 complexity of the issues presented. In general, the Final Fee Applications reflect the
                      6 Receiver's and his Professionals' customary billing rates and the rates charged for
                      7 comparable services in other matters, less any discounts or reductions specifically
                      8 identified in the respective applications. The weighted-average billing rates of the
                      9 Receiver and his Professionals are as noted in the Final Fee Applications.
                     10               The Receiver has reviewed the Final Fee Applications, and believes the
                     11 hourly rates charged were appropriate, given the requirements of the instant
                     12 receivership, that every effort was made to have tasks completed at the lowest
                     13 possible billing rate, and that the total fees for which the Receiver seeks
                     14 authorization for payment are fair and reasonable. (Seaman Decl. ¶ 8.) The
                     15 Receiver likewise believes that the Estate has benefited from the services identified.
                     16 (Id.)
                     17                     2.     The Fees and Expenses Requested in the Final Fee Applications
                     18                            have been Submitted to the Commission, Without Objection.
                     19               Courts often consider the judgment and experience of the Commission
                     20 relating to receiver compensation. "[I]t is proper to [keep] in mind that the
                     21 [Commission] is about the only wholly disinterested party in [this] proceeding and
                     22 that … its experience has made it thoroughly familiar with the general attitude of the
                     23 Courts and the amounts of allowances made in scores of comparable proceedings."
                     24 In re Phila. & Reading Coal & Iron Co., 61 F. Supp. 120, 124 (D.C. Pa. 1945).
                     25 Indeed, the Commission's perspectives are not "mere casual conjectures, but are
                     26 recommendations based on closer study than a district judge could ordinarily give to
                     27 such matters." Finn v. Childs Co., 181 F.2d 431, 438 (2d Cir. 1950) (internal
                     28 quotation marks omitted). In fact, "recommendations as to fees of the
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                            1178712.01/LA                                -16-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5670 Page 18 of 21



                      1 [Commission] may be the only solution to the 'very undesirable subjectivity with
                      2 variations according to the particular judge under particular circumstances' which
                      3 has made the fixing of fees seem often to be 'upon nothing more than an ipse dixit
                      4 basis.'" Id. Thus, the Commission's perspective on the matter should certainly by
                      5 given "great weight," as observed by the court in Fifth Ave. Coach Lines, Inc., 364
                      6 F. Supp. at 1222.
                      7               In order to ensure that the fees and expenses requested in the Final Fee
                      8 Applications are appropriate, the Receiver and his Professionals have submitted
                      9 their respective invoices to the Commission for review. The Commission has not
                     10 objected. The Commission's satisfaction with the subject invoices therefore merits
                     11 significant deference. As the Phila. & Reading Coal & Iron Co. court observed, the
                     12 Commission is "thoroughly familiar with … the amounts of allowances made in
                     13 scores of comparable proceedings." 61 F.Supp. at 124. Indeed, the Commission is
                     14 likely in the best position to measure the fees and expenses requested here against
                     15 those incurred in other, similar proceedings, and cases of similar complexity. The
                     16 Receiver and his Professionals thus respectfully request that the Court approve all
                     17 requested fees and expenses reflected in their respective Final Fee Applications,
                     18 which will be paid from the reserve identified in the Omnibus Distribution Order.
                     19                     3.     The Receiver Should be Authorized to Pay Allowed Fees and
                     20                            Expenses from Cash on Hand.
                     21               The bulk of the funds the Receiver holds are those previously set aside per
                     22 Court Order to cover the fees and expenses incurred by the Receiver and his
                     23 Professionals. By their Final Fee Applications, the Receiver and his Professionals
                     24 respectfully request that the Court exercise its broad discretion and enter an Order
                     25 permitting the payment of fees and expenses requested from these funds.
                     26
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                            1178712.01/LA                                -17-
          Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5671 Page 19 of 21



                      1 VI.           CONCLUSION.
                      2               Based on the Receiver's cumulative findings and the fulfillment of his duties
                      3 under the Appointment Order, the Receiver respectfully requests that this Court
                      4 enter an Order:
                      5               1.    Approving the Final Report in its entirety;
                      6               2.    Authorizing the payment of the fees and expenses requested in the
                      7 Final Fee Applications of the Receiver and his Professionals;
                      8               3.    Authorizing and instructing the Receiver to commence termination of
                      9 the instant receivership, including certain wind-up tasks, as identified herein;
                     10               4.    Staying the above-captioned action and retaining jurisdiction over the
                     11 instant receivership solely for the limited purpose of permitting the Receiver to
                     12 recover and make the Final Distribution of proceeds recovered from the PPCN
                     13 Settlement, if any, pursuant to the Omnibus Distribution Order; and
                     14               5.    Discharging and releasing the Receiver and terminating the
                     15 receivership upon the Receiver's submission of the Final Declaration and supporting
                     16 order to the Court reflecting the completion of all closing tasks, and the final
                     17 disposition of the PPCN Settlement and/or judgment including the Final
                     18 Distribution, if any.
                     19
                     20 Dated: January 23, 2020                          ALLEN MATKINS LECK GAMBLE
                                                                           MALLORY & NATSIS LLP
                     21                                                  DAVID R. ZARO
                                                                         JOSHUA A. DEL CASTILLO
                     22                                                  NORMAN M. ASPIS
                     23
                                                                         By:        /s/ David R. Zaro
                     24                                                        DAVID R. ZARO
                                                                               Attorneys for Receiver
                     25                                                        THOMAS SEAMAN
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                     27
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   Mallory & Natsis LLP                                                                       Case No. 15-cv-226 BAS-RNB
                            1178712.01/LA                               -18-
Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5672 Page 20 of 21



    1                                            PROOF OF SER\rICE
    2                      Securities snd Exchange Commission a. TotalWealth Management,Inc,, et al.
                                   USDC, Southern District of California - Case No. 15-cv-226 BAS-MSB
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    3
              I am employed in the County of Los Angeles, State of California. I am over
    4
        the age of 18 and not a party to the within action. My business address is
    5   865 S. Figueroa Street, Suite 2800, Los Angeles, California 90017-2543.
    6         On January 23r2020,I caused to be served on all the parties to this action
        addressed as stated on the attached service list the document entitled:
    7
        MEMORANDUM OF' POINTS AND AUTHORITIES                                          IN   SI]PPORT OF
    8   MOTION                  OF    RECEIVER. THOMAS A.                                   FOR    ORDER:
    9       1                        G FINAL REPO                 A                G    AUTH
        PAYMENT  OF FINAL FEE APPLICATIONS OF                                          RECIE VE,R AND
   10   PROFESSIONALS : AND (3) STAYING                                                                 CASE.
   1l DISCHARG ING AND RELEASING RECEIVER
   t2     OFFICE MAIL: By placing in sealed envelope(s), which I placed for
          collection and mailing today following ordinary business practices. I am
   13     readily familiar with the firm's practice for collection and processing of
   t4     coffespondence for mailing; such correspondence would be deposited with the
                     U.S. Postal Service on the same day in the ordinary course of business.
   15
                     OVERNIGHT DELIVERY: I deposited in a box or other facility regularly
   t6                maintained by express service carrier, or delivered to a courier or driver
                      authorized by said express service carrier to receive documents, a true copy of
   I7
                     the foregoing document(s) in sealed envelope(s) or package(s) designed by the
   18                express service carrier, addressed as indicated on the attached service list, with
                     fees for overnight delivery paid or provided for.
   t9
                     HAND DELIVERY: I caused to be hand delivered each such envelope to
   20
                     the office of the addressee as stated on the attached service list.
   2I                ELECTRONIC MAIL: By transmitting the document by electronic mail to
   22                the electronic mail address as stated on the attached service list.

   23                E-FILING: By causing the document to be electronically filed via the Court's
                     CM/ECF system, which effects electronic service on counsel who are
   24                registered with the CM/ECF system.
   25                FAX:      By    transmitting the document        by   facsimile transmission. The
   26                transmission was reported as complete and without effor.

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Case 3:15-cv-00226-BAS-MSB Document 259-5 Filed 01/23/20 PageID.5673 Page 21 of 21



    1          I declare that I am employed in the office of a member of the Bar of this Court
         at whose direction the service was made. I declare under penalty of perjury under the
    2
         laws of the United States of Americathatthe foregoing is true and correct. Executed
    J^   on January 23r2020 at Los Angeles, California.

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                                                  Martha Diaz

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